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                       IN
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

JAMES WALKER,                                   §
                                                §
                                                §
                                                §
        Plaintiff,                              §
                                                §
                                                §
                                                §
vs.
v s.                                            §
                                                §
                                                §
                                                §
CHR INTERNATIONAL
     INTERNATIONAL INC.,                        §
                                                § Civil Action No.
                                                               No. 5:19-cv-47
SAFARI HELICOPTER, INC.,                        §
                                                §
SAFARI ENTERPRISES LLC,                         §
                                                § JURY TRIAL DEMANDED
                                                               DEMANDED
BOBBY BAKER, and                                §
                                                §
LETITIA DELANE BAKER,                           §
                                                §
                                                §
                                                §
        Defendants.                             §
                                                §

                         PLAINTIFF’S
                         PLAINTIFF'S ORIGINAL
                                     ORIGINAL COMPLAINT

        COMES NOW,
              NOW, Plaintiff James
                             James Walker,
                                   Walker, and
                                           and files his Original Complaint against

Defendants CHR International Inc., Safari Helicopter, Inc., Safari Enterprises LLC, Bobby

      and Letitia
Baker and Letitia Delane
                  Delane Baker,
                         Baker, (collectively,
                                 (collectively, "Defendants")
                                                 “Defendants”) and
                                                               and w
                                                                   would      respectfully
                                                                     o u l d respectfully

show the Court as follows:
                  follows:

                                               I.
                                                I.
                                            P
                                            PARTIES
                                              ARTIES

1.1 P l aPlaintiff
          i n t i f f James Walker is aa natural person. AAt
                                                           t all times relevant hereto, Plaintiff

James Walker, was a resident and citizen of Aguilares, Webb County, Texas.

1.2 D eDefendant         INTERNATIONAL INC.,
       f e n d a n t CHR INTERNATIONAL INC., dd/b/a   Safari Helicopter
                                               /b / a Safari Helicopter is
                                                                        is aa Florida
                                                                              Florida

corporation w
            with        principal place
              i t h its principal place of business
                                           business located
                                                     located iin           Jackson County,
                                                               n Marianna, Jackson County,

Florida. Defendant CHR INTERNATIONAL
                       INTERNATIONAL INC., conducts business in the State of Texas

but does not maintain a registered agent or office in the State of Texas. Defendant
                                                                          Defendant CHR

INTERNATIONAL INC. may be served by serving the Texas Secretary of State pursuant
INTERNATIONAL INC.

to Tex. Civ.
        Civ. Prac. &
                   & Rem. Code §17.044, and forwarding to its principal place of business

located at 3725A Industrial Park, Marianna, Florida 32446. CHR
                                                           CHR INTERNATIONAL
                                                               INTERNATIONAL INC.
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      transacted aand
has transacted         conducted business
                  n d conducted   business wwithin
                                            i t h i n t hthe  State oof
                                                           e State       Texas. C H
                                                                      f Texas.    CHR
                                                                                    R

INTERNATIONAL INC.
               INC. has
                    has derived
                        derived substantial
                                substantial revenue
                                             revenue from
                                                     from goods
                                                          goods and
                                                                and products
                                                                    products

disseminated and used in the State of Texas, and CHR INTERNATIONAL INC. expected
                                                                        expected

or should have expected its acts to have consequences within the State of Texas.
                                                                          Texas.

1.3 D eDefendant
       f e n d a n t SAFARI HELICOPTERS INC. is a Florida corporation with
                                                                      with its principal

place of business located in Florida. Defendant
                                      Defendant SAFARI HELICOPTERS INC. conducts
                                                                        conducts

                State of Texas but does not maintain
business in the State                       maintain a registered agent or office
                                                                           office in the

State of Texas. Defendant SAFARI HELICOPTERS INC. may be served through the Texas
                                                                            Texas

Secretary of State pursuant to Tex. Civ. Prac. & Rem. Code §17.044, and forwarding to its

principal place of business located at 5103 Willis Road, Greenwood, Florida 32443. Safari
                                                                                   Safari

Helicopter Inc. has
                has derived substantial revenue from goods and products disseminated
                                                                        disseminated

and used
    used in
         in the
            the State
                State of
                      of Texas,
                         Texas, and
                                and Safari
                                    Safari Helicopter
                                           Helicopter Inc.
                                                       Inc. expected
                                                             expected or
                                                                      or should
                                                                         should have
                                                                                have

expected its acts to have consequences within the State of Texas.
                                                           Texas.

1.4 D eDefendant      SAFARI ENTERPRISES
       f e n d a n t SAFARI   ENTERPRISES LLLC
                                            L C i is
                                                  s aa Tennessee
                                                        Tennessee Limited
                                                                   Limited Liability
                                                                            Liability

Corporation with its principal place of business located in Florida. Defendant
                                                                     Defendant SAFARI

ENTERPRISES LLC
            LLC conducts
                conducts business
                         business in the
                                     the State
                                         State of Texas
                                                  Texas but does
                                                            does not
                                                                 not maintain
                                                                     maintain aa

registered agent or office in the State of Texas. Defendant
                                                  Defendant SAFARI ENTERPRISES
                                                                   ENTERPRISES LLC,

may be served through the Texas Secretary of State pursuant to Tex. Civ. Prac.
                                                                         Prac. & Rem.
                                                                                 Rem.

Code §17.044,
      §17.044, and
               and forwarding
                    forwarding to
                                to its
                                    its principal
                                        principal place
                                                  place of
                                                        of business
                                                           business located
                                                                     located at
                                                                             at 3725A
                                                                                 3725A

Industrial Park,
           Park, Marianna,
                 Marianna, Florida 32446.
                                   32446. SAFARI
                                           SAFARI ENTERPRISES
                                                  ENTERPRISES LLC has
                                                                  has transacted
                                                                      transacted

and conducted
    conducted business
              business within the
                              the State
                                  State of
                                        of Texas.
                                           Texas. SAFARI
                                                   SAFARI ENTERPRISES
                                                          ENTERPRISES LLC
                                                                      LLC has
                                                                          has

derived substantial revenue from goods and products disseminated and used in the State
                                                                                 State

of Texas, and SAFARI ENTERPRISES LLC expected or should have expected its acts to

have consequences within the State of Texas.
                                      Texas.




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1.5 D eDefendant,      BOBBY BAKER,
       f e n d a n t , BOBBY BAKER, is
                                     is an
                                        an individual
                                            individual residing
                                                        residing iin Marianna, Florida.
                                                                   n Marianna, Florida.

       BAKER i sis oor
BOBBY BAKER          r wwas
                        a s aan  officer aand/or
                              n officer              director ooff Defendant
                                          n d / o r director        Defendant CCHR
                                                                                HR

INTERNATIONAL INC., SAFARI ENTERPRISES LLC, and SAFARI HELICOPTER INC.

BOBBY BAKER may be served with summons at his place of business at 3553A Industrial

Park Drive, Marianna, Florida 32446-7994.
                              32446-7994.

1.6 D eDefendant,      LETITIA DELANE
       f e n d a n t , LETITIA DELANE BAKER,
                                      BAKER, is
                                             is an
                                                an individual
                                                   individual residing
                                                              residing in Marianna,
                                                                          Marianna,

Florida. LETITIA
         LETITIA DELANE
                 DELANE BAKER
                        BAKER is
                              is an
                                 an officer
                                    officer and/or
                                            and/or director
                                                   director of
                                                            of Defendant
                                                               Defendant CHR
                                                                         CHR

INTERNATIONAL INC., SAFARI ENTERPRISES LLC, and SAFARI HELICOPTER INC.

LETITIA DELANE BAKER may be served with summons at her place of business at 3725
                                                                            3725

Industrial Park Drive, Marianna, Florida 32446-7994.
                                         32446-7994.

                                              II.
                                              II.
                                   JURISDICTION
                                   JURISDICTION AND VENUE
                                                AND V ENUE

2.1 J u rJurisdiction                                           28 USC
          i s d i c t i o n is proper in this court pursuant to 28 USC §1332
                                                                       §1332 for the reason that

there is complete diversity of citizenship between Plaintiff and Defendants and the matter
                                                                                    matter

in controversy
   controversy greatly
               greatly exceeds
                       exceeds the
                                the sum
                                    sum of seventy-five
                                           seventy-five thousand
                                                        thousand dollars
                                                                 dollars ($75,000.00),
                                                                         ($75,000.00),

exclusive of interest and costs.
                          costs.

2.2 T hThis Court has
        i s Court has general
                      general personal
                              personal jurisdiction
                                        jurisdiction over
                                                     over the
                                                           the non-resident
                                                               non-resident Defendants
                                                                            Defendants

because they have done business in the State of Texas, have committed a tort in whole or

in part in the State of Texas, and have continuous and systematic contacts with the State
                                                                                    State

of Texas.
   Texas.

2.3 T hThe                                                                 Defendants
        e Court has specific personal jurisdiction over Defendants because Defendants

     purposefully directed
have purposefully directed its
                           its activities
                               activities toward
                                          toward the
                                                  the State
                                                      State of
                                                            of Texas,
                                                               Texas, has
                                                                      has purposefully
                                                                          purposefully

availed itself of the privileges and benefits of conducting business in the State of Texas,
                                                                                     Texas,

and this lawsuit arises foreseeably from those purposeful activities. Defendants advertise
                                                                                 advertise

their products
      products and promotes
                   promotes the
                            the safety
                                safety of those
                                          those products
                                                products to the
                                                            the citizens
                                                                citizens of Texas
                                                                            Texas and
                                                                                  and



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directly import and sell products to the citizens of Texas. Further, Defendants'
                                                                     Defendants’ contacts
                                                                                 contacts

     the State
with the State of Texas
                  Texas are
                        are related
                            related to the
                                       the claims
                                           claims at
                                                  at issue
                                                      issue in this lawsuit.
                                                                    lawsuit. Specifically,
                                                                             Specifically,

Defendants originally sold the aircraft in question to its original purchaser in Texas; as
                                                                                        as

such, Defendants have sought a benefit, advantage, or profit by virtue of its activities in

and toward
     toward the
             the State
                 State of
                       of Texas,
                          Texas, and
                                 and more
                                     more particularly
                                          particularly with respect
                                                             respect to
                                                                     to the
                                                                         the aircraft
                                                                             aircraft in

question in this lawsuit. Further,
                          Further, Defendants
                                   Defendants committed aa tort, in whole or in part, in

Texas and
      and Plaintiff's
          Plaintiff’s claims
                      claims in
                             in this
                                 this lawsuit
                                       lawsuit arise
                                               arise directly
                                                     directly out
                                                              out of
                                                                  of or
                                                                     or result
                                                                         result from
                                                                                from the
                                                                                      the

Defendants’ activities in the State of Texas, specifically, the sale of the aircraft that failed
Defendants'

and caused Plaintiff’s
           Plaintiff's injuries. This suit, in turn, arises out of the foreseeable consequence
                                                                                   consequence

of selling and delivering a defective aircraft to Texas
                                                  Texas citizens for use in Texas, and
                                                                                   and the
                                                                                       the

direct, causal link between the failure of that defective aircraft as a result of Defendants’
                                                                                  Defendants'

tortious conduct and the
                     the injuries
                          injuries sustained
                                   sustained by Plaintiff in the accident
                                                                 accident caused
                                                                          caused by that

failure. Defendants
          Defendants should
                     should reasonably
                             reasonably anticipate
                                        anticipate being
                                                   being haled
                                                         haled into
                                                                into court
                                                                     court iin  Texas.
                                                                             n Texas.

Further, Defendants
         Defendants contacts
                    contacts with Texas
                                  Texas are
                                        are so
                                            so prevalent
                                               prevalent that
                                                         that they essentially
                                                                   essentially are
                                                                               are "at
                                                                                   “at

home” in Texas.
home"    Texas.

2.4 U nUnder  specific jurisdictional
        d e r specific  jurisdictional theory,
                                        theory, the
                                                 the exercise
                                                     exercise of
                                                              of personal
                                                                 personal jurisdiction
                                                                           jurisdiction over
                                                                                        over

Defendants within the State of Texas does not offend traditional notions of fair play and

substantial justice or any other requirement of due process.
                                                    process.

2.5 V eVenue   is proper
        n u e is  proper iin  this Court
                           n this  Court pursuant
                                         pursuant to
                                                  to 28
                                                     28 U.S.C.
                                                        U.S.C. §§ 1391(b)(2)
                                                                   1391(b)(2) because
                                                                               because aa

substantial part of the
                    the events
                        events giving rise to Plaintiff's
                                              Plaintiff’s claims
                                                          claims occurred,
                                                                 occurred, in part, in the
                                                                                       the

Southern District of Texas.
                     Texas.




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                                          III.
                                          III.
                             G
                             GENERAL  ALLEGATIONS OF FFACT
                               ENERAL ALLEGATIONS      ACT

3.1 I nIn May 2009,
              2009, BOBBY BAKER and LETITIA DELANE
                                            DELANE BAKER formed a Florida

corporation named
            named CHR
                  CHR INTERNATIONAL,
                      INTERNATIONAL, INC.
                                     INC. after
                                          after several
                                                several years
                                                        years of involvement

      the design,
with the  design, testing,
                   testing, modifying,
                            modifying, refining
                                        refining aand  development ooff a ttwo
                                                   n d development              seat "“kit”
                                                                            w o seat   kit"

                  as the
helicopter knowns as the Safari.
                         Safari. A
                                 Att all relevant
                                         relevant times,
                                                  times, CHR
                                                         CHR INTERNATIONAL,
                                                             INTERNATIONAL, INC.
                                                                            INC.

engaged in the business of designing, developing,
                                      developing, manufacturing and marketing “kit”
                                                                              "kit"

helicopters.

3.2 I nIn 2010,
           2010, Defendants
                  Defendants CCHR   INTERNATIONAL,
                               H R IN                          INC.
                                      T E R N AT I O N A L , I N      designed, developed,
                                                                 C . designed,   developed,

manufactured and tested a Safari 400 style helicopter assigned serial number CH2181. In

2011, the Safari 400 was introduced to the market.

3.3 O On
      n July 10, 2015, BOBBY BAKER formed the Florida Corporation named SAFARI

HELICOPTERS, IINC.
              N C . aand
                      n d oon March 25,
                            n March 25, 2016,
                                         2016, CCHR   INTERNATIONAL, IINC.
                                                 H R INTERNATIONAL,   N C . wwas
                                                                              as

            dissolved. O
voluntarily dissolved. On   information and
                         n information  and belief,
                                            belief, the
                                                     the assets
                                                          assets aand   liabilities ooff C
                                                                   n d liabilities       CHR
                                                                                           HR

INTERNATIONAL,
INTERNATIONAL, INC.
               INC. were transferred to Defendants SAFARI HELICOPTERS, INC.,

and it became a successor in interest to CHR INTERNATIONAL,
                                             INTERNATIONAL, INC.
                                                            INC.

3.4 O On
      n February 23, 2017, LETITIA DELANE BAKER formed SAFARI ENTERPRISES
                                                              ENTERPRISES

LLC. OOn April
       n A         10, 2017,
           p r i l 10, 2017, SAFARI
                             SAFARI HELICOPTER
                                    HELICOPTER INC.
                                               INC. was
                                                    was voluntarily
                                                        voluntarily dissolved.
                                                                    dissolved. O
                                                                               Onn

information and belief, the assets
                            assets and liabilities of SAFARI HELICOPTERS, INC.
                                                                          INC. were
                                                                               were

transferred to Defendants
               Defendants SAFARI
                          SAFARI ENTERPRISES
                                 ENTERPRISES LLC., and
                                                   and iitt became
                                                            became a successor
                                                                     successor iin
                                                                                 n

interest to SAFARI HELICOPTERS, INC.
                                INC.

3.5 I nIn December 2016, SAFARI HELICOPTER INC. sold a Safari 400 Helicopter kit to

Panda Ventures LLC in Aguilares, Texas. The Safari 400
                                                   400 helicopter at issue is a two-seat

                                                                         The Safari 400
helicopter with a two-blade main rotor and a tail rotor for anti-torque. The        400




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helicopter registered with the Federal Aviation Administration under number N326RW
                                                                            N326RW

was equipped with an Aerosport O-360 engine.
                               0-360 engine.

3.6 O On May 15,
      n May  15, 2018,
                  2018, the
                         the Safari
                             Safari 400
                                     400 helicopter
                                          helicopter at
                                                     at issue
                                                         issue underwent
                                                               underwent conditional
                                                                         conditional

inspection in accordance with manufacturer instructions.
                                           instructions.

3.7 O On        2018, Plaintiff piloted the
      n July 2, 2018,                   the Safari 400 helicopter at issue on a low flight

under the provisions of 14 Code of Federal Regulations Part 91. Plaintiff was between 20-
                                                                                      20-

30 feet in the air when he heard a “pop”
                                   "pop" and immediately the tail rotor of the Safari 400
                                                                                      400

                                                                                   crash
helicopter became ineffective and the helicopter started to spin causing a serious crash

near Aguilares, Texas. Plaintiff sustained serious injuries as a result of the accident.
                                                                               accident.

3.8 T hThe cause of
        e cause  of the
                    the crash
                        crash of the
                                 the Safari
                                     Safari helicopter
                                            helicopter at
                                                       at issue
                                                           issue was
                                                                 was the
                                                                     the failure
                                                                         failure of
                                                                                 of the
                                                                                    the

materials used
          used to
                to manufacture
                   manufacture the
                                the Safari
                                    Safari 400,
                                            400, as
                                                 as the
                                                     the helicopter
                                                         helicopter had
                                                                    had recently
                                                                         recently been
                                                                                  been

inspected and had less than 24.33 hours of flight time. Nothing that Plaintiff did or did

not do contributed to this accident.
                           accident.

                   CLAIMS FOR RELIEF AGAINST DEFENDANTS

                                          IV.
                     P RODUCTS L
                     PRODUCTS  LIABILITY –M
                                 IABILITY—  ANUFACTURING D
                                          MANUFACTURING  DEFECT
                                                           EFECT

4.1 P l aPlaintiff
          i n t i f f hereby incorporates by reference all preceding paragraphs as if fully set
                                                                                            set

forth herein.

4.2 A At
      t all times relevant to this suit, Defendants engaged in the business of designing,
                                                                               designing,

manufacturing, testing,
               testing, marketing, and placing into the stream of commerce the Safari

400 to sale to, and use by, members of the public.

      One
4.3 O n e or more of the defects in the Safari 400 helicopter are the result of improper

or incorrect manufacturing processes that resulted in the Safari 400 kit, as manufactured,
                                                                             manufactured,

deviating from its intended design. Said
                                    Said deviations in manufacture include, but are not

limited to the incorporation of inferior metal into the Safari 400 airframe.
                                                                   airframe.



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4.4 T hThe defects caused
        e defects  caused by
                          by manufacturing
                             manufacturing defect rendered
                                                  rendered the
                                                           the Safari
                                                               Safari 400
                                                                      400 helicopter
                                                                          helicopter

              dangerous tto
unreasonably dangerous      consumers, including
                         o consumers,   including Plaintiff,
                                                   Plaintiff, as
                                                               as the
                                                                   the inferior
                                                                        inferior metal
                                                                                 metal

weakened the structural integrity of the airframe making it susceptible to metal fatigue

and failure. The manufacturing defects existed at the time of manufacture; therefore, the

defects were present in the product when it left the possession and control of Defendants.
                                                                               Defendants.

4.5 A As
      s a direct and proximate result of the actions and inactions of the Defendants as
                                                                                     as

set forth above, the Safari 400 helicopter was expected to, and did, reach Plaintiff in the

manner intended, and Plaintiff suffered personal injuries, economic and non-economic
                                                                        non-economic

damages including pain and suffering. The defective manufacture of the Safari helicopter
                                                                              helicopter

directly and proximately caused the injuries to Plaintiff.

                                            V.
                                            V.
                          P RODUCTS L
                          PRODUCTS  LIABILITY
                                      IABILITY—–D ESIGN D
                                                DESIGN  DEFECT
                                                          EFECT

5.1 P l aPlaintiff
          i n t i f f hereby incorporates by reference all preceding paragraphs as if fully set
                                                                                            set

forth herein.

5.2 T hThe
        e Safari 400 helicopter in question was originally designed, manufactured and

sold by Defendants. At the time the helicopter was sold, Defendants were in the business
                                                                                business

of designing, manufacturing and settling helicopters such as the one in question.
                                                                        question.

5.3 A At the time
      t the  time the
                  the Safari
                      Safari 400
                             400 helicopter
                                 helicopter was
                                            was designed,
                                                designed, manufactured
                                                          manufactured and
                                                                       and sold
                                                                           sold by
                                                                                by

                                           unreasonably dangerous
Defendants, it was defective in design and unreasonably dangerous as
                                                                  as designed.
                                                                     designed. The
                                                                               The

defective and
          and unreasonably
              unreasonably dangerous
                           dangerous condition
                                     condition of
                                               of the
                                                   the Safari
                                                       Safari 400
                                                              400 helicopter
                                                                  helicopter was
                                                                             was aa

producing cause of injuries and damages to Plaintiff.

5.4 T hThe Safari 400
        e Safari  400 helicopter
                      helicopter kit provided to Plaintiff was unreasonably dangerous
                                                                            dangerous

and defective as designed in the following manner, including but not limited to:

       • WWhen      left the
          h e n it left   the hands
                              hands of
                                    of the
                                       the Defendants,
                                           Defendants, this
                                                        this product
                                                             product was
                                                                     was unreasonably
                                                                         unreasonably

          dangerous to the extent beyond that which could reasonably be contemplated
                                                                        contemplated


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          by Plaintiff;

       • TThe Safari 400
          h e Safari  400 helicopter
                           helicopter was
                                      was unreasonably
                                           unreasonably dangerous
                                                         dangerous and
                                                                   and dangerously
                                                                        dangerously

          defective as
                    as designed
                       designed because
                                because the
                                         the airframe
                                             airframe is
                                                       is susceptible
                                                          susceptible to
                                                                      to metal
                                                                         metal fatigue
                                                                                fatigue

          failure;

       • TThe
          h e Safari 400 sold by the Defendants was defectively designed with inferior

          metal;
          metal;

       • TThe Safari 400's
          h e Safari 400’s motor
                           motor was
                                 was overdesigned
                                     overdesigned resulting
                                                   resulting in
                                                             in an
                                                                an airframe-engine
                                                                   airframe-engine

          mismatch resulting in excessive vibration;

       • TThe  subject product
          h e subject  product was
                               was not
                                   not made
                                       made iin  accordance with
                                              n accordance  with the
                                                                  the Defendants'
                                                                      Defendants’

          specifications or performance standards;
                                        standards;

       • TThe        400’s airframe lacked vibration resistance; and,
          h e Safari 400's

       • T There
           h e r e were safer alternatives that did not carry the same risks and dangers that

          Defendants’ Safari 400 had.
          Defendants'            had.

5.5 T hThe Safari 400
        e Safari  400 helicopter
                      helicopter kit was defective at the time it was distributed by the

Defendants or left their control.

5.6 T hThere  were safer
        e r e were  safer alternative
                          alternative designs
                                       designs other
                                               other than
                                                      than the
                                                            the one
                                                                one used,
                                                                     used, which
                                                                           which were
                                                                                 were

economically and
             and technologically
                  technologically feasible
                                   feasible and
                                            and would
                                                would have
                                                      have prevented
                                                           prevented or
                                                                     or significantly
                                                                        significantly

reduced the risk of accident and
                             and/or
                                 / or injury in question without substantially impairing

the helicopter’s
    helicopter's utility. Specifically,
                          Specifically, Defendants could have equipped the helicopter with

metal less prone to fatigue or with vibration resistance. This safer alternative design was
                                                                                        was

available in the market and was technologically and economically feasible at the time the
                                                                                      the

Safari 400 was manufactured and would not have impaired the utility of the helicopter.

5.7 A At
      t the time of the accident, the helicopter was in the same or substantially similar

condition as
          as when it left the control of Defendants and
                                                    and was
                                                        was placed
                                                            placed into the
                                                                        the stream
                                                                            stream of



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commerce where
         where it was
                  was used
                      used in the
                              the manner
                                  manner anticipated
                                         anticipated by Defendants.
                                                        Defendants. NNo material
                                                                      o material

alterations were made to the vehicle.
                             vehicle.

5.8 F uFurther,
       r t h e r, at the time the helicopter in question was sold, the defective design caused
                                                                                        caused

the product
    product to
            to unexpectedly
               unexpectedly fail to
                                 to function
                                    function in aa manner
                                                   manner reasonably
                                                           reasonably expected
                                                                      expected by an
                                                                                  an

ordinary consumers
          consumers and
                    and users
                         users of
                               of such
                                  such vehicles.
                                        vehicles. T The defective and
                                                    h e defective and unreasonably
                                                                       unreasonably

dangerous design of the helicopter was a producing cause of the injuries and damages to

Plaintiff.
Plaintiff.

5.9 T hThe
        e defective and unreasonably dangerous design and marketing of the Safari 400
                                                                                  400

           was aa direct,
helicopter was    direct, proximate
                           proximate and
                                     and producing
                                         producing cause
                                                    cause of
                                                          of Plaintiff's
                                                             Plaintiff’s injuries
                                                                          injuries and
                                                                                   and

damages. Under
         Under strict
               strict products
                      products liability theories
                                         theories set
                                                  set forth in Restatement
                                                               Restatement (Second)
                                                                           (Second) of

Torts, Defendants are liable to Plaintiff for all damages claimed in this case.
                                                                          case.

5.10 AAs
      s aa direct,
            direct, legal,
                     legal, proximate,
                             proximate, and
                                         and producing
                                              producing result
                                                         result ooff the
                                                                      the defective
                                                                           defective and
                                                                                      and

unreasonably dangerous condition of the Safari 400 helicopter, Plaintiff suffered personal
                                                                                  personal

injuries, economic and non-economic damages, including pain and suffering.

                                              VI.
                                              VI.
                                          N
                                          NEGLIGENCE
                                            EGLIGENCE

6.1 P l aPlaintiff
          i n t i f f hereby incorporates by reference all of the above allegations as if fully set
                                                                                                set

forth herein.

6.2 D eDefendants       committed acts
       f e n d a n t s committed   acts ooff omission
                                             omission and
                                                      and commission,
                                                           commission, which
                                                                       which collectively
                                                                              collectively

constituted negligence,
            negligence, and
                        and which were a proximate cause
                                                   cause of injuries and damages
                                                                         damages to

Plaintiff.
Plaintiff.

6.3 D eDefendants
       f e n d a n t s had a duty to exercise ordinary care and breached that duty by their

acts of negligence, including the following:

       • I In designing, manufacturing,
           n designing,  manufacturing, and
                                        and placing
                                            placing into
                                                     into the
                                                           the stream
                                                               stream of
                                                                      of commerce
                                                                         commerce aa

             product which was unreasonably dangerous for its reasonably foreseeable use,
                                                                                     use,


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          which Defendants knew or should have known could cause injury to Plaintiff;

      • Negligently
         Negligently designing the Safari 400 with inferior metal;
                                                            metal;

      • Negligently
         Negligently overdesigning the motor resulting in
                                                       in an airframe-engine mismatch
                                                                             mismatch

          resulting in excessive vibration;

      • Negligently
         Negligently designing
                     designing the
                               the airframe
                                   airframe in aa mariner
                                                  manner inconsistent
                                                          inconsistent with vibration

          resistance;
          resistance;

      • Failing
         Failing to implement adequate design and quality control processes after being
                                                                                  being

          put on notice of metal fatigue failures;
                                         failures;

         Failing to test and inspect component parts for quality;
      • Failing

      • Failing
         Failing to disclose known problems or defects;
                                               defects;

      • Failing
         Failing to meet or exceed internal corporate guidelines;
                                                      guidelines;

      • Failing
         Failing to notify customers, after the sale of the product, that a defect existed
                                                                                   existed

          in the product that relates to the products safety;
                                                      safety;

      • Negligence
         Negligence per se
                        se for violations of FAA design,
                                                 design, manufacturing,
                                                         manufacturing, and
                                                                        and manual
                                                                            manual

          requirements set for that 14 C.F.R. Part 21; and
                                                       and/or,
                                                           / or,

      • RRes  Ipsa Loquitur
         e s Ipsa  Loquitur as
                            as the
                               the accident
                                   accident which occurred
                                                  occurred was the
                                                               the type
                                                                   type of accident
                                                                           accident

                                                            negligence and the design,
          which ordinarily does not occur in the absence of negligence         design,

          manufacture, and testing of the Safari helicopter was controlled by Defendant.
                                                                              Defendant.

6.4 T hThe
        e negligent conduct of Defendants on the occasion in question was a proximate

cause of the occurrence in question and Plaintiff's
                                        Plaintiff’s injuries and damages.
                                                                 damages.

                                       VII.
                               C
                               COMPENSATORY D
                                OMPENSATORY DAMAGES
                                              AMAGES

7.1 A As
      s a result of the conduct of the Defendants, Plaintiff JAMES WALKER suffered

serious personal injury for which Plaintiff is entitled to recover damages sustained in the
                                                                                        the


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past and that will likely be sustained in the future for medical care, physical
                                                                       physical pain and

mental anguish, impairment and disfigurement.

                                             VIII.
                                             VIII.
                                      P UNITIVE D
                                      PUNITIVE  DAMAGES
                                                  AMAGES

8.1 B eBecause   Defendants acted
       c a u s e Defendants acted with
                                  with gross
                                       gross negligence,
                                              negligence, they
                                                           they should
                                                                should have
                                                                       have punitive
                                                                            punitive

damages assessed
         assessed against
                   against them.
                            them. WWhen   viewed objectively,
                                   h e n viewed   objectively, Defendants'
                                                                Defendants’ conduct
                                                                             conduct

involved an extreme degree of risk, considering the probability and magnitude of harm

to others.
   others. Defendants
            Defendants were subjectively
                            subjectively aware
                                         aware of and knew
                                                      knew of this extreme
                                                                   extreme risk, but
                                                                                 but

nevertheless proceeded with conscious indifference to the rights, safety, and welfare of

others, including Plaintiff. Plaintiff
                             Plaintiff is entitled to recover punitive damages, pursuant to

§§ 41.003(a)(2) and (3) of the Texas Civil Practice and Remedies Code and Article XVI, § 26
                                                                                         26

of the Texas Constitution.

                                         IX.
                                         IX.
                      P RE-JUDGMENT AND POST-
                      PRE-JUDGMENT      POST- JUDGMENT
                                              JUDGMENT IINTEREST
                                                         NTEREST

9.1 P l aPlaintiff
          i n t i f f seeks pre-judgment and post-judgment interest as provided by law.

                                               X.
                                                X.
                                         JJURY
                                           URY D
                                               DEMAND
                                                 EMAND

10.1 P lPlaintiff
        a i n t i ff hereby demands a trial by jury on all issues so triable.

                                               XI.
                                               XI.
                                            P
                                            PRAYER
                                              RAYER

11.1 WHEREFORE,
      WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this cause be set for

trial before a jury, that Plaintiff
                          Plaintiff recovers judgment of and
                                                         and from Defendants for their actual
                                                                                       actual

damages, and for exemplary damages, in such amount as
                                                   as the evidence shows and the

     determines to be
jury determines    be proper, together
                               together with pre-judgment interest and post-judgment
                                                                       post-judgment

interest, costs of suit, and such other and further relief to which Plaintiff is justly entitled,

whether at law or in equity.



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            8 day of April 2019.
 Dated this 8.
            th
                           2019.


                                     Respectfully Submitted,

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